Case 4:13-cr-00072-RAJ-DEM Document 60 Filed 02/25/14 Page 1 of 2 PageID# 195


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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Newport News Division
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                          NORFOLK VA



UNITED STATES OF AMERICA,


               v.                                           CRIMINAL ACTION NO. 4:13cr72-2



KEVIN LAMONT ASHBY,

                                Defendant.




                                     MEMORANDUM ORDER


       This matter is before the Court on Defense Co-Counsel Gregory W. Klein's Motion for

Inquiry Into Potential Conflict of Interest.   Dkt. No. 55. In that Motion. Klein explains that he is

a second counsel for Kevin Lamont Ashby ("Defendant") as well as for Darius Crenshaw, a

defendant in a different criminal prosecution in this District. See Case No. 4:13cr96.     He states

that after learning that the Government might call Defendant as a witness against Darius

Crenshaw, he filed a motion to withdraw as counsel for Crenshaw. That motion remains pending.

He also filed the inslant motion for the Court to determine whether his continued representation of

Defendant also poses a conflict of interest.

        The Court held a hearing on this matter on February 25, 2014. The United States

Attorney, Defendant, Klein, and Defendant's first counsel, Fernando Groene, were] all present.

After hearing from the parties, the Court is convinced that an actual conflict of interest exists in

Klein's continued representation of Defendant. The United States Attorney indicated that it was


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Case 4:13-cr-00072-RAJ-DEM Document 60 Filed 02/25/14 Page 2 of 2 PageID# 196




likely that Defendant would be called as a witness against Crenshaw, whom Klein still currently

represents. The Court therefore construes Klein's Motion as a Motion to Withdraw,, and that

Motion is GRANTED.


       Because Defendant has been indicted for a capital crime, he has a right to the

representation of two counsel under 18 U.S.C. § 3005. The Fourth Circuit has affirmed that this

right persists even if the Government subsequently indicates that it does not intend to seek the

death penalty. United States v. Boone, 245 F.3d 352, 360-61 (4th Cir. 2001). Nonetheless,

Defendant under oath stated that he had conferred with his remaining counsel Groene and wished

to waive this right and continue with the representation of only one counsel. After inquiring into

Defendant's background and observing his demeanor at the hearing, the Court finds this waiver to

be knowing, voluntary, and intelligent. Accordingly, the Court will not appoint Defendant a new

second counsel.


       The Clerk is DIRECTED to send a copy of this Order to all parties.

       IT IS SO ORDERED.




Norfolk, Virginia                                               Raymond A. Jackson
February^ ,2014                                                 United States District Judge
